iAmerican Land Title Association                                                                     ALTA Settlement Statement - Borrower

                                                                                                                        Adopted 05-01-2015

'File
     No.: 874074-BT                                                    Insured Titles
IPrinted: 12/23/2019,12:48 PM
                                                        435 Grand Drive • Bigfork, MT 59911
|Officer/EscrowOfficer: Lizz Piper
 Witcher/lpw                                          Phone: (406)837-5144 Fax: (406)837-5143
'Settiement
            Location:
                                                             Final Settlement Statement                          JNSUREDTrTLES
 435 Grand Drive, Bigfork, MT 59911



|PropertyAddress: 11423 Spotted Fawn Lane, Bigfork, MT 59911
IBorrower: CandyWitliams
[Lender: GlacierMortgage Inc.
[Settlement Date: 12/26/2019
IDisbursementDate: 12/27/2019



                                                                                                                      BoMiver
                                                                                                             Debit                Credit
 Financial
 Loan Amount - Glacier Mortgage Inc.                                                                                                200,000.00


 Loan Charges
 Loan Charges to Glacier Mortgage Inc.
 Prepaid Interest 12/27/19to01/01/20 @$21.850000/day                                                                 109.26
 Origination Fee                                                                        Paid byOthers-L
                                                                                             $4,000.00
 Underwriting Fee                                                                                                    995.00
 0.311% of Loan Amount (Points)                                                                                      622.04
 Appraisal Fee                                                                                                       695.00
 Credit Report                                                                                                        56.85
 Flood Certification                                                                                                   8.00
 Tax Service                                                                                                          85.00
 Non-Specific Lender Credits                                                                                                               15.00


 Impounds
 Aggregate Adjustment                                                                                                                   277.68
 Homeowner's Insurance 5 mo(s) @$138.83/mo                                                                           694.15
 County PropertyTaxes 3 mo(s) @$263.95/mo                                                                            791.85


 Title Charges & Escrow / Settlement Charges
 Policy-Extended Lender's Policy to InsuredTitles                                                                1,034.15
 Endorsement 22-06 Location to Insured Titles                                                                         20.00
 Endorsement 8.1-06 Environmental to Insured Titles                                                                   10.00
 Endorsement 9-06 REM to Insured Titles                                                                               40.00
Settlement or Closing Fee to Insured Titles                                                                          450,00
 e-document filing fee to Insured Titles                                                                              10.00


Government Recording and Transfer Charges




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                               9:23-ap-09001-BPH Doc#: 35-14 Filed: 11/15/23 Page 1 of 2
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                                                                                            !S-.'9
  Recording Fee-Deed                                                                                              14.00
  Recording Fee-Mortgage                                                                                         161.00


  Miscelianeous
  Homeowner's Insurance Premium to State Farm TJ Wendt                      POC-B $832.98                        833.02
  Payoff to American First Credit Union                                                                   41,975.00
  Payoff to Wells Fargo Dealer SVC                                                                        13,671.00
  Payoff to American Express                                                                               9,677.00
  Payoff toJPMCB                                                                                           4,256.00
  Payoff tOJPMCB
                                                                                                           3,462.00

  Subtotals                                                                                              79,670.32         200,292.68
  Due To Borrower                                                                                      120,622.36
  Totals                                                                                               200,292.68          200,292.68



 Acknowledgement
 We/1 have carefully reviewed the ALTA Settlement Statement and find it to be a true and accurate statement of all
 receipts and disbursements made on my account or by me in this transaction and further certify that 1 have received a
 copy ofthe ALTA Settlement Statement. We/1 authorize Insured Titles to cause the funds to be disbursed in
accordance with this statement.

 Borrower(s):



                   6yuf//^^i
  CandyWilliams




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